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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 14-1191V
                                      Filed: October 16, 2015
                                        Not for Publication

*************************************
ANTHONY LAWSON,                     *
                                    *
        Petitioner,                 *
                                                               Attorneys’ fees and costs decision
                                    *
                                                               based on stipulation of fact
 v.                                 *
                                    *
SECRETARY OF HEALTH                 *
AND HUMAN SERVICES,                 *
                                    *
        Respondent.                 *
                                    *
*************************************

P. Richard Talley, Dandridge, TN, for petitioner.
Althea W. Davis, Washington, DC, for respondent.

MILLMAN, Special Master

                    DECISION AWARDING ATTORNEYS’ FEES AND COSTS 1

       On October 16, 2015, the parties filed a stipulation of fact in which they agreed on an
appropriate amount for attorneys’ fees and costs in this case.

        In accordance with General Order #9, petitioner asserts that he did not incur any costs in
pursuit of his petition. Petitioner submitted his request for attorneys’ fees and costs to
respondent. During informal discussions, respondent raised objections to certain aspects of
petitioner’s fees and costs petition. Petitioner now requests reimbursement for attorneys’ fees
and costs in the amount of $5,000.00. Respondent does not object to this amount. The
undersigned finds this amount to be reasonable. Accordingly, the court awards $5,000.00,
1
  Because this unpublished decision contains a reasoned explanation for the special master’s action in this
case, the special master intends to post this unpublished decision on the United States Court of Federal
Claims’s website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat.
2899, 2913 (Dec. 17, 2002). Vaccine Rule 18(b) states that all decisions of the special masters will be
made available to the public unless they contain trade secrets or commercial or financial information that
is privileged and confidential, or medical or similar information whose disclosure would constitute a
clearly unwarranted invasion of privacy. When such a decision is filed, petitioner has 14 days to identify
and move to redact such information prior to the document=s disclosure. If the special master, upon
review, agrees that the identified material fits within the banned categories listed above, the special
master shall redact such material from public access.
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representing reimbursement for attorneys’ fees and costs. The award shall be in the form of a
check payable jointly to petitioner and P. Richard Talley & Associates for $5,000.00.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment herewith. 2


IT IS SO ORDERED.


Dated: October 16, 2015                                                            s/ Laura D. Millman
                                                                                    Laura D. Millman
                                                                                     Special Master




2
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party, either separately or
jointly, filing a notice renouncing the right to seek review.
                                                    2
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